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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


 Brandon Ehlis, on behalf of himself and all    Court File No. 20-cv-01872-PJS-ECW
 others similarly situated,

                            Plaintiffs,
                                                [PROPOSED] ORDER ON
 v.                                             STIPULATION TO AMEND
                                                BRIEFING SCHEDULE
 DAP Products Inc.,

                            Defendants.



      Based upon the stipulation to amend the Briefing Schedule (Docket No. 23), the

court enters the following Order:

      1. Plaintiff shall have through and including December 11, 2020 to file his

          opposition to Defendant’s Motion to Dismiss Plaintiff’s Complaint.

      2. Defendant shall have through and including January 5, 2021 to file its reply

          brief.

IT IS SO ORDERED.

Dated: ____________________, 2020              BY THE COURT:


                                               ________________________________
                                               ELIZABETH COWAN WRIGHT
                                               United States Magistrate Judge Court
